









Dismissed and Memorandum Opinion filed June 15, 2006









&nbsp;

Dismissed and Memorandum Opinion filed June 15, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00353-CR

____________

&nbsp;

KIMBERLY
MICHELLE SCHAFMAN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Criminal Court at Law No. 8

Harris County,
Texas

Trial Court Cause No.
1323722

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally
signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;

Judgment rendered
and Memorandum Opinion filed June 15, 2006.

Panel consists of
Justices Anderson, Edelman and Frost.

Do not publish C Tex.
R. App. P. 47.2(b).





